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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


BRANDON B. DREWRY,                        )
                                          )
                     Plaintiff            )
                                          )
v.                                        )      1:16-cv-00075-GZS
                                          )
MAINE DEPARTMENT OF                       )
CORRECTIONS, et al.,                      )
                                          )
                     Defendants           )

           RECOMMENDED DECISION ON DEFENDANTS’ SECOND
                MOTION FOR SUMMARY JUDGMENT AND
                  ORDER ON MOTION TO COMPEL

       In this action, Plaintiff Brandon Drewry, a prisoner at the Maine State Prison,

alleges that Defendants Thomas Averill, Kevin Court, and Nathan Staples subjected him

to cruel and unusual punishment, and that Defendants Harold Abbott and Troy Ross

denied him due process during disciplinary proceedings.

       The matter is before the Court on Plaintiff’s Motion to Compel Discovery (ECF

No. 97) and Defendants’ Second Motion for Summary Judgment. (ECF No. 87.)

Following a review of the motions and the record, I deny the motion to compel. In

addition, I recommend the Court grant the motion for summary judgment.

                           I.     PROCEDURAL BACKGROUND

       Plaintiff has not filed a response in opposition to Defendants’ motion for summary

judgment. Plaintiff repeatedly asserted that he lacks the resources or information to file a

response to Defendants’ motion. Plaintiff’s contentions are unavailing. The Court has
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permitted Plaintiff more than sufficient time to respond to the motion. Rather than file a

response to the motion, Plaintiff has filed many other documents. Defendants filed the

motion for summary judgment on April 26, 2017. Plaintiff’s response, therefore, was due

to be filed by May 17, 2017. The court docket reflects the following relevant filings after

the filing of the motion for summary judgment:

   1. On May 8, 2017, Plaintiff requested an extension of time to respond to the motion

      for summary judgment. (ECF No. 91.)

   2. On May 11, 2017, the Court granted Plaintiff’s motion, and extended Plaintiff’s

      response deadline to June 7, 2017. (ECF No. 92.)

   3. On May 24, 2017, Plaintiff filed a motion to compel discovery. (ECF No. 97.)

   4. On June 5, 2017, Plaintiff filed a motion to extend the deadline to respond to the

      motion for summary judgment. (ECF No. 101.)

   5. On June 6, 2017, the Court extended the deadline for Plaintiff to respond to the

      motion for summary judgment to June 30, 2017. (ECF No. 102.)

   6. On June 13, 2017, Defendants filed their response to Plaintiff’s motion to compel.

      The deadline for Plaintiff’s reply in support of the motion to compel was established

      as June 27, 2017. (ECF No. 103.)

   7. On June 23, 2017, Plaintiff filed a motion to extend the deadline to file a reply in

      support of the motion to compel. (ECF No. 104.)

   8. On June 24, 2017, the Court extended the deadline for Plaintiff to file a reply in

      support of the motion to compel to July 11, 2017. (ECF No. 105.)
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   9. On July 13, 2017, Plaintiff moved to extend the deadlines for his response to the

      motion for summary judgment and his reply in support of his motion to compel.

      (ECF No. 106.)

   10. On July 14, 2017, the Court granted Plaintiff’s motion, extended the deadline for

      both filings to August 1, 2017, and in its order wrote: “Given the extensions

      previously granted, absent extraordinary circumstances, the Court would not expect

      to grant any further extensions of time.” (ECF No. 107.)

   11. On July 31, 2017, Plaintiff filed an objection to the Court’s July 14, 2017, Order

      extending his filings deadline to August 1, 2017. (ECF No. 110.) On August 18,

      2017, the Court denied the objection. (ECF No. 114.)

   12. On July 31, 2017, Plaintiff filed a motion seeking to extend the deadline for his

      response to the motion for summary judgment and his reply in support of his motion

      to compel. (ECF No. 111.) On August 3, 2017, Plaintiff filed a motion to stay

      proceedings. (ECF No. 113.)      On August 28 and September 5, 2017, the Court

      denied the motions. (ECF Nos. 116, 117.)

   13. On September 25, 2017, Plaintiff filed an interlocutory appeal to challenge the

      Court’s order denying the requested extension. (ECF No. 122.) On October 27,

      2017, the Court of Appeals for the First Circuit dismissed the appeal. (ECF No.

      135.)

   14. On September 29, 2017, Plaintiff filed an objection to the order denying his motion

      to stay. (ECF No. 129.) The Court denied the objection on October 16, 2017. (ECF
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       No. 132.)

   15. On October 23, 2017, Plaintiff filed a motion to extend the deadline to object to an

       order (ECF No. 117) denying his request for an extension of time. (ECF No. 133.)

       On October 25, 2017, the Court extended the time to November 3, 2017, for Plaintiff

       to file his objection for his response to the motion for summary judgment. (ECF

       No. 133.) Plaintiff did not file an objection.

   16. On November 3, 2017, Plaintiff filed an interlocutory appeal from the Court’s order

       denying his motion to stay. (ECF No. 136.)

   17. On November 6, 2017, Plaintiff filed a motion to extend the time to file an objection

       to the Court’s order denying him additional time to respond to the motion for

       summary judgment. (ECF No. 141.)

   18. On November 9, 2017, the Court denied the motion to extend time. (ECF No. 142.)

                   II.   PLAINTIFF’S MOTION TO COMPEL DISCOVERY

       The discovery period closed on April 7, 2017. Plaintiff previously filed a motion to

extend the discovery period (ECF No. 79), which motion the Court denied on April 13,

2017. In its order denying the request, the Court noted that Plaintiff had “not identified

any specific issues on which he believe[d] expert testimony [was] necessary or any issues

on which he was unable to conduct discovery in this matter.” (ECF No. 80.)

       Plaintiff filed the pending motion to compel discovery on May 24, 2017. (ECF No.

97.) Through his motion to compel, Plaintiff requests video recordings, information related

to camera placement and video storage practices, certain personnel records of the defendant
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officers, and the names of all prisoners and staff members present in the location (C-Pod)

where the incident that is the subject of Plaintiff’s complaint occurred. (ECF Nos. 97-2,

97-3, 97-4.)

        In this District, a civil litigant must obtain leave of court to file a discovery motion.

D. Me. Loc. R. 26(b). Plaintiff did not obtain prior approval for his motion.1 In addition,

Plaintiff’s motion was not filed timely because Plaintiff filed it after the expiration of the

discovery period. Furthermore, to the extent Plaintiff seeks video recordings and related

information, the Court, in addressing an earlier motion, determined that Plaintiff had not

presented sufficient evidence to establish that Defendants had additional video recordings.

(Order, ECF No. 55.)

        Because Plaintiff has not complied with the requirements of Local Rule 26(b),

because Plaintiff filed the motion after the close of discovery, and because the Court has

already addressed at least one of the issues raised by the motion, Plaintiff’s motion to

compel is denied.

1
  The Court has informed Plaintiff on more than one occasion that leave is required to file a motion to
compel discovery. For example, in an order dated January 26, 2017, the Court reiterated the requirements
of the Rule. (ECF No. 54.) Plaintiff evidently was previously aware of the requirement because on
November 21, 2016, he requested leave to file a motion to compel. (ECF No. 45.) In that motion, Plaintiff
asserted that he believed Defendants were withholding video evidence. The motion and response revealed
that Defendants produced a video recording taken from a hand-held camera. The video started after the
officers removed Plaintiff from C-pod, where Plaintiff was assigned. Defendants informed the Court that
they did not possess any other video of the incident because, although there was a camera in C-pod capable
of capturing the incident, it would have required someone to direct the camera from a remote location.
Furthermore, the storage media for the camera is automatically overwritten after approximately 48 hours.
Defendants informed the Court that there was no video evidence of events in C-pod, and that there was no
reason to believe the camera had ever been trained on Plaintiff and the officers present in C-pod during the
incident. (ECF No. 46 at 2.) Based on the parties’ presentations, the Court denied Plaintiff leave to file a
motion to compel because Plaintiff lacked a reliable basis upon which to contend Defendants were
withholding evidence. (ECF Nos. 55, 63.)
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               III.   DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Through their second motion for summary judgment, Defendants Averill and

Staples argue they are entitled to summary judgment because the record cannot support

Plaintiff’s claim of cruel and unusual punishment; Defendant Court argues he is entitled to

summary judgment because he was not present at the relevant time and the record lacks

support for supervisory liability; and Defendants Abbott and Ross argue they are entitled

to summary judgment on the due process claim because the evidence Plaintiff contends

should have been produced was unavailable. Defendants also contend Plaintiff cannot

recover damages for mental or emotional distress because he did not suffer more than a de

minimis physical injury.

A.   Summary Judgment Standard

       “The court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(a). “After the moving party has presented evidence in support

of its motion for summary judgment, ‘the burden shifts to the nonmoving party, with

respect to each issue on which he has the burden of proof, to demonstrate that a trier of fact

reasonably could find in his favor.’” Woodward v. Emulex Corp., 714 F.3d 632, 637 (1st

Cir. 2013) (quoting Hodgens v. Gen. Dynamics Corp., 144 F.3d 151, 158 (1st Cir.1998)).

       A court reviews the factual record in the light most favorable to the non-moving

party, resolving evidentiary conflicts and drawing reasonable inferences in the non-

movant’s favor. Hannon v. Beard, 645 F.3d 45, 47-48 (1st Cir. 2011). If a court’s review
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of the record reveals evidence sufficient to support findings in favor of the non-moving

party on one or more of his claims, a trial-worthy controversy exists and summary

judgment must be denied as to any supported claim. Id. Unsupported claims are properly

dismissed. Celotex Corp. v. Catrett, 477 U.S. 317, 323-24 (1986) (“One of the principal

purposes of the summary judgment rule is to isolate and dispose of factually unsupported

claims or defenses.”).

B.      Background Facts

        The facts are drawn from Defendants’ statement of material facts (ECF No. 88),

Plaintiff’s complaint signed under penalty of perjury (ECF No. 1), and Plaintiff’s amended

complaint signed under penalty of perjury (ECF No. 51). 2




2
  In support of their motion for summary judgment, Defendants filed a statement of material facts setting
forth the background facts upon which their motion is based. Local Rule 56 requires that factual assertions
in support of or in opposition to a motion for summary judgment be set forth in a separate statement of
material facts. D. Me. Loc. R. 56(a), (b), (f). Defendants have complied with the Rule. Plaintiff has not
filed an opposing statement of material facts as required under Local Rule 56(c). Because Plaintiff has not
filed an opposing statement, and because Defendants’ statements are supported by record citations, the
factual assertions set forth in Defendants’ statement are deemed admitted. See D. Me. Loc. R. 56(f).
However, the Court “may not automatically grant a motion for summary judgment simply because the
opposing party failed to comply with a local rule requiring a response within a certain number of days.”
NEPSK, Inc. v. Town of Houlton, 283 F.3d 1, 7 – 8 (1st Cir. 2002). Instead, the Court must assess whether
the movant has shown “that there is no genuine dispute as to any material fact and the movant is entitled to
judgment as a matter of law.” Fed. R. Civ. P. 56(a). In the context of summary judgment, this Court has
observed that a prisoner’s nonconforming summary judgment submission should be reviewed by the Court
and that the facts set forth in a verified complaint or prisoner affidavit should be considered. Clarke v.
Blais, 473 F. Supp. 2d 124, 128 (D. Me. 2007). In this case, therefore, the summary judgment record
consists of the Local Rule 56 record and Plaintiff’s sworn statements of record.
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       1.      Use of force

       Plaintiff alleges that corrections officers assaulted him on December 11, 2014.

Defendants do not dispute that force was used, but maintain the force was constitutionally

permissible.

               a. Defendants’ Statements of Fact

       On December 11, 2014, Defendant Staples worked as a corrections officer assigned

to the close custody unit at the Maine State Prison (MSP). At approximately 7 a.m., he

was in the zone control area, and heard over the intercom Plaintiff tell the officer in close

E-pod that he was going to get a breakfast tray. The pod officer told Plaintiff that he was

not permitted to leave.       (Defendants’ Statement of Material Facts ¶ 1.)         Plaintiff

nevertheless left the pod running without the officer’s permission. The pod officer

requested that Plaintiff be stopped. When Plaintiff got to the front door of the unit, Officer

Gath confronted him and instructed him to return to the housing unit. Plaintiff repeatedly

stated, “No,” and he kept walking. Defendant Staples told Officer Gath to apply handcuffs

to Plaintiff, but Plaintiff continued to walk away. (Id. ¶ 2.)

       Defendant Staples left zone control and told Plaintiff to turn around for handcuffs

to be placed on him. Plaintiff refused. Defendant Staples then took Plaintiff by the arm

and told him to turn around for the placement of handcuffs and, at that point, Plaintiff

complied. (Id. ¶ 3.)

       At the time of the incident, Defendant Averill was a correctional officer assigned as

the pod officer in C-pod of the close custody unit at MSP. At the time, C-pod was used as
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an overflow pod for close unit prisoners placed on Emergency Observation Status (EOS).

(Id. ¶ 5.) At approximately 7 a.m., Defendant Averill was notified that he was to receive

an EOS prisoner. He arranged for cell 206 to be opened. (Id.)

       Defendant Staples and two other officers escorted Plaintiff to C-pod, with one

officer on each arm and one walking behind. The pod officer directed them to place

Plaintiff in cell 206. When they reached the cell, Plaintiff resisted. He attempted to turn,

place his foot on the door frame, and push back against the officers. (Id. ¶ 4.)

       The officers took Plaintiff to the floor and attempted to place him in a controlled

restraint. Plaintiff was held face down on the floor, but continued to resist by tossing,

rolling and kicking. His nose also started to bleed and he was spitting blood and moving

his head back and forth. Because of the hazard posed by the blood, Defendant Staples

attempted to control the movement of Plaintiff’s head by placing his forearm across the

back of Plaintiff’s head. Defendant Averill attempted to control Plaintiff’s legs by crossing

them at the ankles and pushing them back to prevent him from kicking. (Id. ¶ 7.)

       Because of Plaintiff’s conduct, an officer was directed to get a spit mask (a mesh

hood that is pulled down over the prisoner’s face to prevent him from spitting but still allow

him to breathe) and leg restraints. After the spit mask and leg restraints were placed on

Plaintiff, he was brought to his feet and led out of C-pod. (Id. ¶ 8.) Defendant Court, a

correctional sergeant assigned as the supervisor of the close unit, heard the radio traffic

about the incident, and responded to C-pod, where Defendants Staples and Averill were in

the process of escorting Plaintiff out of C-pod. (Id. ¶ 9.)
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        After Plaintiff was removed from C-Pod, the close unit nurse attempted to examine

 Plaintiff. Plaintiff became irritated and refused medical treatment several times. Plaintiff

 became physically aggressive and refused staff orders.             Defendant Court obtained

 authorization from his supervisor to take Plaintiff to the Special Management Unit (SMU).

 The officers placed Plaintiff in a portable restraint chair and transported him to the SMU.

 (Id. ¶ 10.)

        A nurse examined Plaintiff in the medical area of the SMU. Other than the blood

 from his nose, Plaintiff did not appear to Defendants Staples, Averill and Court to have

 sustained any injuries. (Id. ¶ 11.) According to the treatment record, Plaintiff did not have

 an open wound on his face, his nosebleed had stopped, he had a small bruise under his right

 eyebrow, and he had small lacerations on the top of his left wrist with no active bleeding.

 Plaintiff also informed the nurse that he had a history of frequent, severe nosebleeds that

 came on easily. (Id. ¶ 12.)

               b. Plaintiff’s Verified Statements in Complaint/Amended Complaint

        Plaintiff stated that after being ordered to enter cell 206, he “took one step to his left

 to address the officer to ask why this needed to be done when all [he] was doing was simply

 seeking to get his breakfast,” and then Defendant Staples and others “threw” him to the

 ground. (Complaint ¶ 1, ECF No. 1-1, PageID # 4.) Plaintiff asserts his nose began to

 bleed from the impact of his head striking the ground, and that an officer sat on his

 handcuffed hands, which were behind Plaintiff’s back, thereby pinning Plaintiff to the

 floor. Additionally, Officer Staples knelt against Plaintiff’s head. (Id.) When Plaintiff
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 informed the officers he could not breathe, an officer responded that Plaintiff could breathe

 because he was talking. (Id.) Plaintiff remained on the ground for approximately two

 minutes and was lifted up after the spit mask was placed over his face. Plaintiff asserts that

 he experienced “great pain” during the incident. (Id.) Plaintiff maintains that he “did not

 spit – even inadvertently – at anyone.” (Id. ¶ 3.)

        Plaintiff also asserts that Defendant Court was present “throughout the assault – use

 of excessive force,” and that he should have intervened immediately to stop the application

 of force. (ECF No. 51 ¶ 2, PageID # 297.) According to Plaintiff, he “made no verbal or

 physical threat whatsoever to the … officers.” (Id.)

        2.     Due process

        Due to the incident, Plaintiff received two separate disciplinary charges. In one

 disciplinary matter (MSP-2014-2094), Plaintiff was charged with refusing to obey an order

 and leaving place of assignment. Officer Clancy, the officer who told Plaintiff that he

 could not leave to the chow hall, prepared the disciplinary incident report. Defendant

 Abbott conducted the disciplinary hearing. Officer Clancy’s report was part of the

 evidentiary record. At the hearing, Plaintiff claimed that Officer Clancy never told him

 not to leave the pod or that he did not hear the order. Plaintiff admitted that he left the pod.

 Defendant Abbott found Plaintiff guilty of the offense. Plaintiff appealed from the finding;

 Defendant Ross denied the appeal. (Id. ¶ 14.)

        In the second disciplinary matter (MSP-2014-2096), Plaintiff was charged with

 Bodily Injury, Bodily Fluid, Disturbance and Order, Refusing to Obey. The charges
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 resulted from Plaintiff’s refusal to return to the housing unit, his refusal to submit to

 restraints when ordered, his physical resistance to being placed in a cell in C-pod, and his

 spitting blood while restrained on the floor. The evidence consisted of the reports of

 Defendants Averill and Court, and Officers Gordon and Gath. According to the record of

 the disciplinary hearing, Plaintiff denied that he spat at the officers or that he resisted staff,

 but he admitted that he did not go into the cell when directed. The hearing officer found

 Plaintiff guilty of the charges. Plaintiff appealed from the finding, and Defendant Ross

 upheld the decision. (Id. ¶ 15.)

        When he received notice of the disciplinary charges, Plaintiff requested that “video”

 be produced in evidence. In his appeal in MSP-2014-2096, Plaintiff argued that he was

 not permitted to present video (overhead and handheld) of the incident. (Id. ¶ 16.)

 According to Defendant Ross, there was only one surveillance camera in close C-pod at

 the time, an overhead rotary camera that automatically made periodic circular sweeps of

 the unit. A zone control officer located in a control room physically separated from the

 housing pod had the ability to operate the camera. The zone control officer was responsible

 for monitoring the surveillance cameras in six housing units, including C-pod. The officer

 would also visually monitor the close unit hallways. At the time, there were no cameras in

 the hallways. (Id. ¶ 18.)

        The overhead surveillance camera in the close C-pod automatically recorded video

 of its periodic sweeps. Video recordings made by the housing pod camera were

 automatically overwritten after approximately 48 hours. Any video of the incident that
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 might have been captured by the surveillance camera was not saved, and was overwritten

 within days after the incident. (Id. ¶ 19.) Officer Gordon took a hand-held video, but only

 after officers removed Plaintiff from C-pod to escort him to the SMU. (Id. ¶ 20.)

 C.     Discussion

        1.     Use of force

        Because Plaintiff is serving a sentence following conviction, Plaintiff’s claim is

 governed by standards developed under the Eighth Amendment Cruel and Unusual

 Punishments Clause. Wilson v. Seiter, 501 U.S. 294, 296 (1991). “Generally speaking,

 after incarceration, only the unnecessary and wanton infliction of pain ... constitutes cruel

 and unusual punishment forbidden by the Eighth Amendment. The critical question ... is

 whether the force was applied maliciously and sadistically for the very purpose of causing

 harm, rather than in a good-faith effort to maintain or restore discipline.” Skinner v.

 Cunningham, 430 F.3d 483, 488 (1st Cir. 2005) (quotation marks and citation omitted).

        While the standard for liability under the Eighth Amendment involves a subjective

 inquiry, objective considerations inform the inquiry. “The Eighth Amendment’s

 prohibition of ‘cruel and unusual’ punishments necessarily excludes from constitutional

 recognition de minimis uses of physical force, provided that the use of force is not of a sort

 repugnant to the conscience of mankind.” Hudson v. McMillian, 503 U.S. 1, 9 – 10 (1992)

 (some internal quotation marks omitted). Thus, “[a]n inmate who complains of a ‘push or

 shove’ that causes no discernible injury almost certainly fails to state a valid excessive

 force claim.” Wilkins v. Gaddy, 559 U.S. 34, 37 – 38 (2010) (per curiam). Additionally,
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 the Court of Appeals for the First Circuit has observed that an unlawful subjective intent is

 often inferred by weighing the amount of force used against the nature of the prisoner’s

 conduct. Unwin v. Campbell, 863 F.2d 124, 129 – 30 (1st Cir. 1988), abrogated on other

 grounds by Johnson v. Jones, 515 U.S. 304 (1995).

         Here, the undisputed record establishes that Plaintiff’s conduct justified the use of

 force to place Plaintiff in his assigned cell. Although in his verified complaint and amended

 complaint Plaintiff asserts that he was thrown to the ground in handcuffs in a way that

 caused his nose to bleed and made it difficult to breathe, Plaintiff’s sworn declarations do

 not directly refute most3 of the circumstances that preceded the use of force. That is,

 according to the uncontroverted record, Plaintiff defied an order to remain in his pod, ran

 toward the cafeteria, refused to be placed in handcuffs, physically resisted efforts to place

 him in a cell, and kicked when corrections officers were attempting to subdue him. Under

 the circumstances, a reasonable fact finder could not find the force “was applied

 maliciously and sadistically for the very purpose of causing harm, rather than in a good-

 faith effort to maintain or restore discipline,” Skinner, 430 F.3d at 488, or that the nature

 of the force employed was a kind repugnant to the conscience of mankind, Hudson, 503

 U.S. at 9. The nature and extent of the injury also demonstrate that “[t]he force employed

 was appropriate to the task at hand.” Wertish v. Krueger, 433 F.3d 1062, 1067 (8th Cir.



 3
  Plaintiff declares that he did not spit. (Complaint ¶ 3.) Assuming this is true, given the presence of blood,
 Defendants’ exercise of control over the movement of Plaintiff’s head and their use of a spit mask were
 appropriate measures and did not rise to the level of malicious or sadistic conduct.

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 2006) (affirming entry of summary judgment in case involving “relatively minor scrapes

 and bruises”); see also, e.g., Lockett v. Suardini, 526 F.3d 866, 876 (6th Cir. 2008) (“minor

 lacerations and cuts”); Outlaw v. Newkirk, 259 F.3d 833, 839 (7th Cir. 2001) (pain,

 swelling, and bruising).4 Although Plaintiff suffered a nosebleed, Plaintiff conceded that

 his nose bleeds easily. In fact, in a separate matter, Plaintiff has alleged that the prison’s

 health care providers have failed to treat properly a medical condition from which he

 suffers, hereditary hemorrhagic telangiectasia, which causes frequent spontaneous

 nosebleeds. See Drewry v. Correct Care Solutions, 1:14-cv-00392-GZS.5 Plaintiff’s other

 injuries, a small bruise under his right eyebrow and small lacerations on his left wrist with

 no bleeding, do not suggest a constitutionally impermissible degree of force was used.

         Because Plaintiff cannot prevail on his claim against Defendants Averill and

 Staples, he cannot prevail on his supervisory/failure to intervene claim against Defendant

 Court. Torres-Rivera v. O’Neill-Cancel, 524 F.3d 331, 338 (1st Cir. 2008); Maldonado-

 Denis v. Castillo-Rodriguez, 23 F.3d 576, 581 – 82 (1st Cir. 1994).




 4
  It is the “nature of the force rather than the extent of the injury” that drives the analysis, Wilkins v. Gaddy,
 559 U.S. 34, 34 (2010) (per curiam), but the absence of appreciable injury is a relevant criterion. Hudson,
 503 U.S. at 7, 10 (recognizing claim where injuries included not only bruising but “loosened teeth, and a
 cracked dental plate”). See also Bastien v. Goddard, 279 F.3d 10, 14 & n.6 (1st Cir. 2002) (vacating jury
 verdict for defendant based on erroneous instruction that arrestee plaintiff was required to prove “serious
 injury,” relying on teaching of Hudson).
 5
  See In re Mailman Steam Carpet Cleaning Corp., 196 F.3d 1, 8 & n.2 (1st Cir. 1999) (explaining that a
 court may take judicial notice of its own docket).
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        2.       Due process

        Plaintiff assets that Defendants deprived him of due process of law during his

 disciplinary hearing and on appeal, because they refused to gather and review readily

 available video evidence that would have exonerated him of the bodily fluids charge.

 Where an interest in liberty or property is at stake, a prisoner has a right to present

 documentary evidence in defense of disciplinary charges provided the proposed

 evidentiary presentation is consistent with institutional safety and correctional goals.

 Superintendent v. Hill, 472 U.S. 445, 454 (1985); Wolff v. McDonnell, 418 U.S. 539, 563

 – 66 (1974). The qualified right to present documentary evidence extends to video

 evidence collected by corrections officers or installed surveillance equipment. Piggie v.

 Cotton, 344 F.3d 674, 678 – 79 (7th Cir. 2003); Cannistraci v. Van Der Veur, 106 F.3d

 413 (10th Cir. 1997) (table).

        Defendants Abbott and Ross argue they are entitled to summary judgment because

 there was no relevant video evidence to introduce at the hearing. The record evidence

 establishes that no video evidence existed. Defendants cannot violate Plaintiff’s due

 process right to present evidence where Plaintiff has failed to demonstrate the existence of

 the evidence.

                                    IV.    CONCLUSION

        Based on the foregoing analysis, Plaintiff’s Motion to Compel Discovery (ECF No.

 97) is denied. In addition, I recommend the Court grant Defendants’ Second Motion for



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 Summary Judgment (ECF No. 87) and enter judgment in favor of Defendants Abbott, Ross,

 Staples, Averill, and Court.

                                           NOTICE

               Any objection to the decision on the motion to compel shall be filed
        in accordance with Federal Rule of Civil Procedure 72.

                A party may file objections to those specified portions of a magistrate
        judge’s report or proposed findings or recommended decisions entered
        pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by the district
        court is sought, together with a supporting memorandum within fourteen (14)
        days of being served with a copy thereof. A responsive memorandum and
        any request for oral argument shall be filed within fourteen (14) days after
        the filing of the objection.

               Failure to file a timely objection shall constitute a waiver of the right
        to de novo review by the district court and to appeal the district court’s order.

                                            /s/ John C. Nivison
                                            U.S. Magistrate Judge

 Dated this 13th day of November, 2017.




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